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9
                          UNITED STATES BANKRUPTCY COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11                               NORTHERN DIVISION

12   In re                                    §   CASE NO. 9:16-BK-11912-DS
                                              §
13   CHANNEL TECHNOLOGIES                     §   Chapter 11
     GROUP, LLC,                              §
14       Debtor.                              §   ADV NO. 9:19-AP-01019-DS
15                                            §
                                              §
16   CORPORATE RECOVERY                       §
     ASSOCIATES, LLC, as Trustee for          §
17   the Liquidating Trust of Channel         §
18   Technologies Group, LLC,                 §   PLAINTIFF’S RESPONSE IN
                                              §   OPPOSITION TO DEFENDANT’S
19           Plaintiff,                       §   MOTION TO CONSOLIDATE
     v.                                       §   PRETRIAL DISCOVERY IN
20                                            §   ADVERSARY CASE NOS. 9:19-AP-
21   GRANT THORNTON, LLP,                     §   01019 AND 9:18-AP-01058
                                              §
22           Defendant.                       §
                                              §
23

24
          PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT GRANT
25                  THORNTON’S MOTION TO CONSOLIDATE
26
27

28
     PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS MOTION TO CONSOLIDATE     PAGE 1
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            Plaintiff Corporate Recovery Associates, LLC, solely in its capacity as Trustee
1

2    for the Liquidating Trust of Debtor Channel Technologies Group, LLC (“Plaintiff” or

3    “Trustee”) files this response in opposition to Defendant Grant Thornton, LLP’s
4
     Motion to Consolidate Pretrial Discovery in Adversary Case Nos. 9:19-AP-01019 and
5
     9:18-AP-01058 (“Motion”).
6
                                    I.   INTRODUCTION
7

8           Under the guise of judicial efficiency, Defendant frivolously attempts to re-

9    litigate a matter this Court has already ruled upon—i.e., that the post-petition
10   claims asserted against Defendant should proceed in this action separate from the
11
     claims in the pre-petition suit. The motion is a delay tactic meant to impede the
12
     Court’s expeditious resolution of a single inquiry: Did Grant Thornton receive post-
13

14   petition payments, unauthorized by this Court, from the Debtor for services Grant

15   Thornton performed for third-party entities?
16          The Court should deny Grant Thornton’s motion. Plaintiff’s post-petition
17
     claims share no issues of law or fact with Plaintiff’s pre-petition claims. Moreover,
18
     whether the Debtor and other entities were alter ego of each other or shared a unity
19

20   of interest is irrelevant to the issues in this case. Consolidating this action with the

21   more legally and factually complex fraudulent transfer action will achieve no
22   economic or judicial efficiency, and instead will unnecessarily and indefinitely drag
23
     this matter out for many more months. These are the exact same arguments that
24
     the Court considered and rejected when Plaintiff moved to sever the post-petition
25

26   payments and consolidate them in this action, rather than vice-versa. For the same

27   reasons, the Court should reject these same arguments in this Motion.
28
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                             II.    RELEVANT BACKGROUND
1

2           In Corporate Recovery Associates, as Trustee for the Liquidating Trust of

3    Channel Technologies Group, LLC v. Blue Wolf Capital Partners, LLC, et al., 9:18-
4
     AP-01058-DS (the “pre-petition action”), the Trustee has alleged that the Debtor
5
     Channel Technologies Group, LLC (“CTG”) had third-party entities that dominated
6
     CTG’s affairs. And this dominance led CTG to pay for third-party vendors, such as
7

8    Grant Thornton, to benefit entities other than CTG. Initially, in the pre-petition

9    action, the Trustee alleged that CTG improperly transferred payments to Grant
10
     Thornton before and after October 14, 2016—the date CTG filed for bankruptcy.
11
            Thereafter, on April 18, 2019, the Trustee filed a separate complaint against
12
     Grant Thornton in the above-captioned case, Corporate Recovery Associates, as
13

14   Trustee for the Liquidating Trust of Channel Technologies Group, LLC v. Grant

15   Thornton, LLP, 9:19-AP-01019-DS (the “post-petition action”) for recovery of post-
16
     petition payments, including several after March 15, 2017.
17
            For efficiency and to avoid confusion, the Trustee then moved to sever the
18
     post-petition claims from October 2016 through March 2017 in the pre-petition
19

20   action and consolidate them with the other post-petition claims in April 2017 in this

21   action. See Post-Petition Action, Docket No. 151. After a full round of briefing and
22
     a hearing on July 23, 2019, this Court granted Plaintiff’s motion to sever all post-
23
     petition claims in the pre-petition action and consolidate these newly-severed claims
24
     with this action. See id., Docket No. 167.
25

26
27

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            Now, six months after the Court ordered that the pre- and post-petition claims
1

2    against Defendant Grant Thornton proceed in separate causes of actions, Defendant

3    has filed the instant motion, effectively requesting this Court to reconsider its prior
4
     decision. For several reasons, Defendant’s motion should be denied.
5
                          III.    ARGUMENT AND AUTHORITIES
6
           A. There are no issues of law or fact common to Plaintiff’s pre- and
7             post-petition claims against Grant Thornton.
8
            Defendant’s lackluster attempt to manufacture common issues of law and fact
9
     relating to the pre- and post-petition claims is conclusory and unsupported by the
10
     pleadings in the record or by the law.
11

12          Defendant merely claims that “there is an abundance of overlapping common

13   questions of fact,” such as “allegations of single business enterprise and unity of
14
     interests and ownership raised by Plaintiff, as well as defenses that may be asserted
15
     by Grant Thornton. . ..” Mot. at 6. This is a blatant mischaracterization of the
16
     allegations contained in Plaintiff’s First Amended Complaint. See Docket No. 10.
17

18          Plaintiff’s First Amended Complaint does not raise any issues of single

19   business enterprise or unity of interests and ownership that the Court would need
20
     to resolve in order to determine whether Grant Thornton received unauthorized
21
     post-petition payments from the Debtor for services Grant Thornton performed for
22
     third-party entities. In fact, the only allegation remotely related to a unity of
23

24   interest or ownership is found in Paragraph 13 of Plaintiff’s First Amended

25

26
27

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     PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO CONSOLIDATE         PAGE 4
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     Complaint.1      This hardly constitutes an “abundance of overlapping common
1

2    questions of fact.”

3           Moreover, whether the Debtor and other entities were alter egos of each other
4
     has no bearing on the limited claims in this action.                 Again, Defendant makes
5
     unsupported arguments that resolution of facts in the pre-petition action will “be at
6
     the forefront of the affirmative defenses asserted by Grant Thornton in both
7

8    Adversary Proceedings.” Mot. at 7. But Defendant fails to (1) identify what facts

9    specifically will be at the forefront of Grant Thornton’s affirmative defenses; (2)
10
     which of the 22 stock affirmative defenses asserted by Grant Thornton will be
11
     implicated by these supposed facts, see Answer, Docket No. 30 at 4–6; and 3) why
12
     resolution of Plaintiff’s alter ego claim is necessary for the Court to determine
13

14   whether Grant Thornton received post-petition payments from the Debtor without

15   obtaining authorization from the Court.
16
            Defendant further fails to identify or explain what issue of law is common to
17
     Plaintiff’s pre- and post-petition claims. Whereas Plaintiff’s claims in the pre-
18
     petition action relate to claims of fraudulent transfer, which require that Plaintiff
19

20   demonstrate an actual intent to hinder, delay, or defraud creditors, a claim under

21   11 U.S.C. § 549(a) merely requires a trustee to prove: (1) a transfer (2) of the estate
22
     property (3) that occurred after the commencement of the case (4) that was not
23
     authorized by statute or the court. Fursman, et al. v. Ulrich (In re First Protection,
24

25
     1 “CTG had alter egos. These alter egos utilized CTG’s funds to pay for services for the benefit of
26   other third-party entities—including Grant Thornton—and not CTG. Before the Trustee’s
     appointment, not only did third parties act as CTG’s alter ego, but CTG had fiduciaries who breached
27   their duty to protect its interests.” First. Am. Compl. ¶ 13.

28
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     Inc.), 440 B.R. 821, 827–28 (9th Cir. BAP 2010).         None of those three factors is
1

2    affected or implicated by the claims in the pre-petition action.

3          B. It is judicially and economically inefficient, and prejudicial to
              Plaintiff, to consolidate Plaintiff’s pre- and post-petition claims
4
              against Grant Thornton.
5
            No judicial or economic efficiency will be gained by consolidating the pre-
6
     petition and post-petition actions. Defendant’s claim of “substantial overlap of facts,
7

8    witnesses and documentary evidence” and that “discovery disputes and/or protective

9    orders sough would be raised and litigated twice absent consolidation” ring hollow
10   in the face of the limited and narrowly tailored discovery Plaintiff has propounded
11
     in this post-petition action.
12
            For example, Plaintiff served its First Set of Requests for Production, which
13

14   is narrowly tailored to seek discovery relating to the unauthorized post-petition

15   payments to Grant Thornton identified by Plaintiff in its First Amended Complaint.
16   Similarly,   Plaintiff’s   First   Set   of   Interrogatories,   containing   only    four
17
     interrogatories, seeks to discover information limited to the post-petition payments.
18
            Defendant seeks to consolidate the two actions for the sole purpose of delay,
19

20   knowing that the pre-petition action involves more complex legal and factual issues

21   and more parties so will likely take many months longer to resolve. Defendant’s
22   claim that “there would be a major burden” because parties would have to answer
23
     discovery requests twice or appear for depositions twice is and baseless and ignores
24
     the efficiencies that will be gained by significantly narrowing the disputes and
25

26   discovery in the post-petition action.

27

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            Defendants further ignore the substantial harm and undue prejudice that
1

2    Plaintiff will suffer by preventing Plaintiff from expeditiously recovering $122,382

3    in unauthorized post-petition payments made to Grant Thornton by tying it to a
4
     larger and more complicated unrelated action.
5
           C. Defendant’s Motion fails to meet the standard for reconsideration
6             under Fed. R. Bankr. P. 9024.
7           Defendant effectively seeks reconsideration of this Court’s previous Order
8
     that “all claims related to the post-petition payments made to defendant Grant
9
     Thornton, LLP in Corporate Recovery Associates, as Trustee for the Liquidating
10

11   Trust of Channel Technologies Group, LLC v. Blue Wolf Capital Partners, LLC, et

12   al. (Case No. 9:18-ap-01058-DS) are severed” and “that these newly severed claims
13   are consolidated with Corporate Recovery Associates, as Trustee for the Liquidating
14
     Trust of Channel Technologies Group, LLC v. Grant Thornton, LLP (Case No. 9:19-
15
     ap-01019-DS).” See Pre-Petition Action, Docket No. 167. As such, the Court should
16

17   review Defendant’s motion under the standard for a motion for reconsideration.

18          Federal Rule of Bankruptcy Procedure 9024, which governs relief from a
19   judgment or order, provides that a motion for relief from an order is governed
20
     by Federal Rule of Civil Procedure 60 (“Rule 60(b)”). Rule 60(b) provides that a court
21
     may relieve a party from an order for the following reasons:
22

23                (1) mistake, inadvertence, surprise, or excusable neglect; (2)
                  newly discovered evidence that, with reasonable diligence, could
24                not have been discovered in time to move for a new trial under
                  Rule 59(b); (3) fraud ..., misrepresentation, or misconduct by an
25                opposing party; (4) the judgment is void; (5) the judgment has
26                been satisfied, released or discharged; it is based on an earlier
                  judgment that has been reversed or vacated; or applying it
27

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                  prospectively is no longer equitable; or (6) any other reason that
1
                  justifies relief.
2
            A motion for reconsideration is appropriate only where: (1) the court is
3
     presented with newly discovered evidence; (2) the court committed clear error or the
4

5    initial decision was manifestly unjust; or (3) there is an intervening change in

6    controlling law. School Dist. No. 1J, Multnomah County, Oregon v. Acands Inc., 5
7
     F.3d 1255, 1263 (9th Cir.1993).
8
            Defendant Grant Thornton fails to provide any explanation for why the Court
9
     should reconsider its previous Order consolidating all of Plaintiff’s post-petition
10

11   claims against Grant Thornton in one action.        It does not identify any newly

12   discovered evidence, intervening change in the law, or error by the Court that
13
     warrants reconsideration.      In fact, the Court’s previous Order is not even
14
     acknowledged in Defendant’s Motion. See Docket No. 33 (Mot.).
15
            The Court should reject Defendant attempt to circumvent the stringent
16

17   standard of review for a motion to reconsider by repackaging the same arguments

18   in opposition to the motion to consolidate the post-petition claims in a new motion
19
     to re-consolidate those claims for discovery.
20
                                    IV.   CONCLUSION
21
            For the reasons contained herein, Defendant Grant Thornton’s Motion should
22

23   be denied. Defendant’s Motion is an attempt to circumvent the stringent standards

24   of review for motion for reconsideration by re-packaging an issue decided by this
25
     Court just six months ago under the guise of a new motion to consolidate. This tactic
26
     transparently seeks to delay a speedy resolution of this action, and it should be
27

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     rejected. The question before the Court in this post-petition action is simple: Did
1

2    Grant Thornton receive post-petition payments, unauthorized by this Court, from

3    the Debtor for services Grant Thornton performed for third-party entities? The
4
     Court should look past the smoke-and-mirrors attempt by Defendant to
5
     manufacture issues of fact and law that simply do not exist in this action for the sole
6
     purpose of tying it to an unrelated matter in order to cause delay.
7

8

9    Dated: January 21, 2020
10
                                                   Respectfully submitted,
11

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21                                                 Corporate Recovery Associates,
                                                   LLC, Trustee for the Liquidating
22
                                                   Trust of Debtor Channel
23                                                 Technologies Group, LLC

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                                   PROOF OF SERVICE
1

2    STATE OF TEXAS, COUNTY OF DALLAS
           I am employed in the County of Dallas, State of Texas. I am over the age of
3    18 and not a party to the within action; my business address is 2100 Ross Avenue,
     Suite 2700, Dallas, Texas 75201.
4

5    On January 21, 2020, I caused the document described below as PLAINTIFF’S
     RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
6    CONSOLIDATE PRETRIAL DISCOVERY IN ADVERSARY CASE NOS. 9:19-
     AP-01019 AND 9:18-AP-01058 to be served on all interested parties in this action
7
     via email:
8                            SEE ATTACHED SERVICE LIST
9    []    (BY MAIL) I caused such envelope(s) fully prepaid to be placed in the United
     States Mail at Dallas, Texas. I am “readily familiar” with the firm’s practice of
10   collection and processing correspondence or mailing. Under that practice it would
     be deposited with the U.S. Postal Service on that same day with postage thereon
11   fully prepaid at Dallas, Texas in the ordinary course of business. I am aware that
12   on motion of the party served, service is presumed invalid if postal cancellation date
     or postage meter date is more than one day after date of deposit for mailing in
13   affidavit.
14
     []   (BY OVERNIGHT-FEDERAL EXPRESS) I caused said document(s) to be
15   picked up by U.S. Federal Express Services for overnight delivery to the offices of
     the addressees listed on the Service List.
16
     []    (BY PERSONAL SERVICE) I caused to be delivered such document by hand
17
     to the above-identified recipient through the use of First Legal Attorney Service
18   whose address is: 1517 West Beverly Boulevard, Los Angeles, CA 90026, and whose
     telephone number is (213) 250-1111.
19
     []    (BY FACSIMILE) I caused said document(s) to be telephonically transmitted
20
     to each addressee’s telecopier (Fax) number as noted.
21
     [XX] (BY ELECTRONIC MAIL) I caused said document(s) to be served via
22   electronic transmission to each addressee’s electronic mail address(es) as noted on
     the attached Service List.
23

24   I declare under penalty of perjury under the laws of the State of California that the
     above is true and correct.
25
     Executed on January 21, 2020, at Dallas, Texas.
26
27                                                        Emily Burch

28
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                                      SERVICE LIST
1

2                           United States Bankruptcy Court
                    Central District of California, Northern Division
3                              Case No. 9:16-BK-11912-DS
                               Adv. No. 9:19-AP-01019-DS
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     PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO CONSOLIDATE     PAGE 11
